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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,      )
                               )                     8:06CR271
                Plaintiff,     )
                               )
     vs.                       )                      ORDER
                               )
ROSA MARIA FLORES-TAPIA,       )
SANDRA LUZ VILLANUEVA BARRIOS, )
CARMINA ARRELLANO RODRIGUEZ, )
RICARDO VILLA SOSA and         )
MELECIO GARCIA RANGEL,         )
                               )
                Defendants.    )


      Defendant Rosa Maria Flores-Tapia’s Motion to Continue (Filing No. 84) is
granted.
      IT IS ORDERED that the evidentiary hearing on all pending motions is continued
to February 6, 2007, at 9:00a.m. before Magistrate Judge Thomas D. Thalken,
Courtroom No. 7, Second Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th
Plaza, Omaha, Nebraska.
      Since this is a criminal case, all defendants with pending motions must be
present unless excused by the Court.
      DATED this 29th day of December, 2006
                                        BY THE COURT:


                                        s/ Thomas D. Thalken
                                        United States Magistrate Judge
